
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
       No. 97-1065
                                 IVAN RUIZ, ET AL.,
                               Plaintiffs, Appellants,
                                         v.
                           POSADAS DE SAN JUAN ASSOCIATES,
                                Defendant, Appellee.
                                                    
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                                    
                                       Before
                                Selya, Circuit Judge,
                             Cyr, Senior Circuit Judge,
                             and Boudin, Circuit Judge.
                                                    
            Jose L. Rivero Vergne for appellants.
            Nilda M. Navarro-Cabrer for appellee.
                                                    
                                   August 18, 1997
                                                    

                    CYR, Senior 
                                Circuit 
                                         Judge. Appellants Ivan Ruiz and
          Estela Diaz, husband and wife, challenge various district court
          rulings relating to their claims against appellee Posadas de San
          Juan Associates, Inc. ("Posadas" or "Hotel"), alleging, 
                                                                inter 
                                                                      alia,
          age discrimination under the Age Discrimination in Employment Act
          (ADEA), 29 U.S.C. S 621  et seq., and Puerto Rico "Law 100," 29
          L.P.R.A. S 146 et seq. As we conclude that appellants failed to
          generate a trialworthy dispute regarding their federal claims, we
          affirm the district court judgment.
                                         I  
                                     BACKGROUND
                    In 1985, appellant Ivan Ruiz began work as a housekeeper
          at the "Hotel San Juan &amp; Casino" ("Hotel"), owned by Posadas, a New
          York corporation. By 1987 Ruiz had been promoted to Team Leader,
          Housekeeping Department, responsible for supervising housekeeping
          in Hotel "public areas" (
                                  e.g., offices, meeting rooms, gymnasium).
          Beginning in 1991, he worked five nights a week on the 8:00 p.m. to
          4:00 a.m. shift.
                    As a Team Leader, Ruiz received mixed performance
          ratings. During the period from 1987 through 1993, the average
          annual performance rating Ruiz received ranged from lows of 3.30 in
                              
               The material facts in genuine dispute are related in the light
          most favorable to appellants, who opposed summary judgment. 
                                                                     Velez-
          Gomez v. SMA Life Assur. Co., 8 F.3d 873, 875 (1st Cir. 1993).
                                          2

          1987 and 1989, to a high of 4.02 in 1990. Ruiz received regular
          salary increases throughout his tenure. In addition, he received
          three merit certificates for excellent supervisory performance and
          a "good" overall rating in 1992. 
                    During his tenure, however, Ruiz received some criticism.
          In 1988, he was criticized by Felix Joseph, his supervisor at the
          time, for "total negligence . . . or total and complete disregard
          of 
            . . . 
                  Company Policy or both," following an unannounced one-day
          absence from work. In 1990, a different supervisor, Eddie Ortiz,
          noted "major cleaning deficiencies" in the areas for which Ruiz was
          responsible    specifically, trash not picked up, rooms not
          cleaned, and furniture not dusted 
                                              as well as a general "lack of
          attention" to cleaning responsibilities in the Hotel corporate
          offices. Finally, in 1993, yet another supervisor, Jorge Serrano,
          warned Ruiz about poor cleaning in the gymnasium and filed a
          contemporaneous disciplinary report against him. 
                    Ruiz, on the other hand, dates most of his employment
          problems from late 1993, when Luis Rivera, age 32, became Hotel
          Executive Housekeeper. Rivera regularly criticized Ruiz, verbally
          and in writing, on his job performance.  In March 1994, Rivera
                              
               On a scale of 1 to 5, "3" indicated that standard job
          requirements were met; "4" that the requirements were exceeded "in
          many instances"; "5" that the requirements were "consistently"
          exceeded. 
               For example, in February 1994 Rivera notified Ruiz that many
          complaints had been lodged regarding the Hotel offices and that
          inspection had disclosed failures to dust, pick up trash, clean
          window areas, and clean bathrooms. Rivera warned Ruiz that he
          expected "immediate action" and that "[f]ailure to comply" would
                                          3

          rated Ruiz's performance for 1993 as "need[ing] improvement" in
          three areas: accepting criticism, solving problems, and quality of
          performance. Rivera noted that Ruiz blamed others for his own
          deficiencies, responded lackadaisically to guest requests, and
          provided inadequate supervision to subordinates. After Ruiz com-
          plained to Rivera, the performance evaluation was changed from
          "need[ing] improvement" to "satisfactory," but Rivera did not
          soften the negative written commentary. The average rating Ruiz
          received for 1993 was 3.69.  See supra note 2.
                    Beginning in 1993, Victoria Greber, Executive Assistant
          Manager, "Rooms Division," likewise complained that Hotel public
          areas were found to be untidy following Ruiz's shift. Felipe
          Mercado, the night manager ultimately responsible for supervising
          Ruiz, complained directly to Greber about uncleanliness in areas
          for which Ruiz was responsible. Other unfavorable comments
          relating to the untidiness of Hotel public areas following Ruiz's
          shift were noted in the Hotel log books    daily diaries describ-
                              
          "result in disciplinary action." 
               The annual ratings Ruiz received during his tenure were:
                    Evaluation Date     Score     Comparison   
                                                              to   
                                                                   Rivera's
                                                  Rating  
                                                         of  
                                                             Ruiz  
                                                                  for  
                                                                       1993
                                                  calendar year
                         03-02-94       3.69      the rating given by
                                                  Rivera
                         11-12-92       3.68      lower than Rivera's score
                         11-01-91       3.39      lower "        " " 
                         10-30-90       4.02      higher "       " " 
                         11-10-89       3.30      lower "        " " 
                         07-30-89       3.47      lower "        " " 
                         01-06-87       3.30      lower "        " " 
                                          4

          ing, 
              inter 
                    alia, the physical condition of the Hotel 
                                                                 by various
          Hotel employees including Rivera.
                    During the Spring of 1994, the occupancy rate at the
          Hotel dropped dramatically, resulting in severe shortfalls in Hotel
          revenues and prompting work-force reductions by the administration.
          In May 1994, Greber met with Rivera and Egidio Colon, Human
          Resources Director, to evaluate the personnel records of all
          employees holding an employment position within any category
          targeted for reduction, which included a Team Leader position in
          the Housekeeping Department, "Rooms Division."
                    After the personnel file on each Team Leader in the
          Housekeeping Department had been reviewed, and following receipt of
          input from Colon and Rivera, Greber determined to discharge Ruiz.
          According to both Colon and Greber, the dispositive factors were
          the negative written evaluations (Ruiz posted the lowest average
          scores of any Team Leader), the negative commentaries, the disci-
          plinary warnings, the complaints from night manager Felipe Mercado,
          and the negative log-book notations regarding the uncleanliness of
          the public areas following Ruiz's shifts. 
                    On June 2, 1994, Ruiz was fired, after being told that
          the Hotel was undergoing "reorganization," and "adjustments" in the
                              
               At the time, there were four Team Leaders in the Housekeeping
          Department: John Waters, age 61, Steven Rosado, age 27, Carlos
          Carrasquillo, age 34    all of whom worked the day shift     and
          Ruiz, age 61, who worked the night shift only. Carrasquillo and
          Rosado had less seniority in their respective Team Leader positions
          than Ruiz. Rosado had been a Team Leader for only seven months,
          and Carrasquillo had become a Team Leader one year after Ruiz. 
                                          5

          "Rooms Division" were necessary. Following Ruiz's dismissal,
          supervisory responsibility for the night shift was divided between
          Carrasquillo and Waters, both of whom continued to serve as Team
          Leaders on their daytime shifts as well. 
                    On June 7, 1994, Ruiz filed age-discrimination charges
          with the Equal Employment Opportunity Commission and the
          Antidiscrimination Unit of the Puerto Rico Department of Labor,
          requesting reinstatement. On November 18, 1994, a preexisting Team
          Leader position in the Housekeeping Department became vacant when
          Mr. Rosado, 
                     see 
                         supra note 5, was promoted to Public Areas Manager.
          The Hotel did not inform Ruiz of the vacancy, however, instead
          promoting Alexis Vargas, age 26, to Team Leader.
                    On March 24, 1995, his administrative remedies exhausted
          and a "right to sue" letter in hand, Ruiz (and spouse) filed a
          complaint in the United States District Court for the District of
          Puerto Rico, alleging that the Hotel, during 1993-94, had a policy
          of discharging older employees, in violation of the ADEA and "Law
          100." Following extended discovery proceedings, the Hotel moved
          for summary judgment. In their opposition, appellants asserted,
          for the first time, that the Hotel's failure to rehire Ruiz, and
                              
               The Hotel fired ten employees in all; two within the protected
          age group, including Ruiz. Ruiz was the only Team Leader in the
          Housekeeping Department to be fired. Two nonsupervisory employees
          in the same department were fired, aged 25 and 29. 
               In addition, another 111 employees left the Hotel between
          April and June, 1994. These included temporary employees whose
          contracts were not renewed; retirements; resignations; and
          terminations for cause. Among these 111 employees, nine (
                                                                  i.e., 8%)
          were 40 years or older.
                                          6

          its hiring of Vargas, likewise violated Puerto Rico "Law 100."
          Thereafter, appellants sought leave to amend their original
          complaint to state additional ADEA claims, alleging a failure to
          rehire based on age and claiming retaliation in response to Ruiz's
          filing of administrative charges against the Hotel.
                    The district court granted summary judgment for the
          Hotel, after determining that the proffered evidence on the ADEA
          discriminatory discharge claim was inadequate for a  prima  facie
          showing that the Hotel either failed to treat age neutrally or
          replaced Ruiz with a younger worker, 
                                             see 
                                                 McDonnell Douglas Corp.
                                                                         v.
          Green, 411 U.S. 792 (1973); Woodman v. Haemonetics Corp., 51 F.3d
          1087 (1st Cir. 1995). It also dismissed the pendent Commonwealth
          claim under "Law 100," as there was no longer an independent basis
          for asserting federal jurisdiction. Finally, the court denied the
          motion to amend the complaint, on the ground that its new allega-
          tions, "even if supported, . . . [would] not sustain an ADEA claim.
          That is, plaintiffs would [sic] have established a 
                                                           prima 
                                                                 facie case
          of age discrimination."
                                         II
                                     DISCUSSION
                              
               We consider the summary judgment ruling 
                                                       de 
                                                          novo, viewing the
          record in the light most favorable to Ruiz, the nonmoving party,
          and drawing all reasonable inferences in his favor.   LeBlanc v.
          Great American Ins. Co., 6 F.3d 836, 841 (1st Cir. 1993). On the
          other hand, we must affirm if the record reveals no trialworthy
          issue of material fact and the Hotel was entitled to judgment as a
          matter of law.  See id. Moreover, we may affirm "on any indepen-
          dently sufficient ground." Polyplastics, Inc.
                                                       v. 
                                                          Transconex, Inc.
                                                                          ,
          827 F.2d 859, 860-61 (1st Cir. 1987).
                                          7

          A.   Wrongful Discharge Claim Under ADEA
                    1.  Prima Facie Case
                    Our analysis is governed by the familiar burden-shifting
          framework enunciated in 
                                 McDonnell Douglas
                                                  , 411 U.S. at 802-04, and
          adapted for use in ADEA cases, 
                                        see, 
                                            e.g., 
                                                  Woodman, 51 F.3d at 1091.
          Absent direct evidence of age discrimination, a claimant whose
          employment was terminated through a reduction in force ("RIF")
          first must make a prima facie showing that: 1) he was at least
          forty years old; 2) met the employer's legitimate job expectations;
          3) was fired; and 4) that age was not treated neutrally in imple-
          menting the RIF, or younger individuals were retained in the same
          position.  Id. We need not consider the fourth prong, however,
          including Ruiz's contention that the Hotel retained two younger
          employees    i.e., Rosado and Carrasquillo    in the same occupa-
          tional classification, since there is an alternative ground for
          affirmance.  See Polyplastics, Inc. v. Transconex, Inc., 827 F.2d
          859, 860-61 (1st Cir. 1987). We therefore assume, without
          deciding, that Ruiz made out a 
                                        prima 
                                              facie case of age discrimina-
          tion by demonstrating that younger workers were retained in the
          same position. See 
                             Pages-Cahue v. 
                                            Iberia Lineas Aereas De Espana
                                                                          ,
          82 F.3d 533, 538 (1st Cir. 1996).
                    2.  Pretext
                    In order to rebut the presumption that arises upon the
          establishment of a prima  facie case     i.e., that the employer
          engaged in intentional age-based discrimination,  see Woodman, 51
          F.3d at 1091    the employer need only produce enough competent
                                          8

          evidence, taken  as  true, to enable a rational factfinder to
          conclude that there existed a nondiscriminatory reason for the
          challenged employment action, 
                                       see 
                                           St. Mary's Honor Center
                                                                  v. 
                                                                     Hicks,
          509 U.S. at 502, 509 (1993); Woodman, 51 F.3d at 1091 (same). At
          that point, the employee "must demonstrate that the proffered
          reason for the adverse employment action was simply a pretext for
          age discrimination," Goldman v. First 
                                                 Nat'l 
                                                       Bank 
                                                            of 
                                                               Boston, 985
          F.2d 1113, 1117 (1st Cir. 1993), which in turn requires that the
          employee proffer enough competent evidence to support 
                                                              two findings:
          1) the employer's proffered reason was pretextual; 
                                                           and, 2) its true
          motive was age discrimination. Udo v. 
                                               Tomes, 54 F.3d 9, 12-13 (1st
          Cir. 1995). The burden of   persuasion remains on the plaintiff
          employee at all times.  LeBlanc, 6 F.3d at 842.
                    There is no dispute that the Hotel experienced signifi-
          cant financial difficulties in the Spring of 1994 and terminated
          ten employees as part of a legitimate RIF.   Moreover, Victoria
          Greber, the executive directly responsible for the decision to
          discharge Ruiz, attested that financial difficulties prompted the
          employee discharges, both in her own department and throughout the
          Hotel. She explained, again without contradiction, that she
          determined to discharge a Team Leader in the Housekeeping Depart-
          ment because she considered it an expendable "medial" position
          between the housekeepers, who do the cleaning, and the Hotel
                              
               Ruiz so concedes on appeal.  See Brief for Appellants at 14
          ("Ruiz does not contest that a reduction in force was necessary in
          order to confront the Hotel's economic problems. . . ."). 
                                          9

          management. She further explained that Ruiz was selected for
          termination because his employment record was the weakest among all
          Team Leaders. Careful review bears out that Greber's explanation
          is entirely consistent with the undisputed documentary evidence
          that Ruiz had received more disciplinary warnings, and the lowest
          average evaluation ratings, of any Team Leader in the Housekeeping
          Department, as well as the only negative written commentary. Thus,
          the Hotel met its burden of production under the second prong of
          the McDonnell Douglas test.  See LeBlanc, 6 F.3d at 844-45.
                    Accordingly, the presumption of age discrimination has
          vanished, see id., and we inquire whether the evidence, " in  its
          entirety," would permit a reasonable factfinder to infer that the
          proffered reason for the dismissal was pretextual 
                                                          and that the true
          reason was an age-based animus,   see id. (emphasis added). In
          pursuing this inquiry, we focus on whether the employer believed
          that its proffered reason was credible.   See Mesnick v.  General
          Elec. Co., 950 F.2d 816, 824 (1st Cir. 1991). That is, Ruiz must
          do more than cast doubt on the rationale proffered by the employer,
          see 
             Connell v. 
                        Bank of Boston
                                      , 924 F.2d 1169, 1172 (1st Cir. 1991),
          the "evidence must be of such strength and quality as to permit a
          reasonable finding that the . . . [termination] was obviously  or
          manifestly unsupported."  Brown v. Trustees 
                                                      of 
                                                         Boston 
                                                                Univ., 891
          F.2d 337, 346 (1st Cir. 1989) (emphasis added) (internal quotation
          marks omitted). The summary judgment record generated no
                                         10

          trialworthy issue on the ADEA wrongful discharge claim. 
                    Ruiz attempted to demonstrate that Rivera was responsible
          for an atmosphere of age-based discrimination, in the Housekeeping
          Department, which influenced the decision to terminate him. He
          relied on an affidavit from Carmen Pena, age 54, formerly employed
          in the Housekeeping Department, who attested that Rivera expected
          more from her than from younger workers; asked her age; stated that
          she didn't look good for her age; inquired about her health and
          suggested that a job change might be beneficial. Pena acknowl-
          edged, however, that Rivera never asked, let alone ordered, her to
          transfer. Moreover, Pena attributed another remark to Rivera     
                              
               An affidavit from Miguel Moreales, formerly a housekeeper with
          the Hotel, concludes that Ruiz was an excellent supervisor, but
          does not purport to compare Ruiz's work record with that of other
          Team Leaders. Moreales also opines that Ruiz's disciplinary
          warnings were unfounded because Ruiz always assigned a housekeeper
          to clean, and checked the area afterward. However, these
          conclusory statements did not demonstrate that the areas about
          which Ruiz was warned had been properly cleaned on the particular
          occasions identified in the warnings he received, much less that
          the warnings were unfounded, nor that Victoria Greber    who made
          the decision to fire Ruiz, see supra p. 5    could not reasonably
          have believed that the disciplinary warnings were warranted.  Cf.
          Mulero-Rodriguez v. Ponte, 
                                      Inc., 98 F.3d 670, 674-75 (1st Cir.
          1996) (wherein plaintiff presented evidence that employer's cited
          reasons were pretextual).
               Similarly, Ruiz attests that he was discharged due to his age,
          a belief based on his judgment that he had a good employment
          record. Even assuming his employment record passed muster,
          however, Ruiz proffered no evidence which would enable a rational
          jury to find that the Hotel's employment action was not soundly
          founded on its determination that Ruiz possessed the least worthy
          work-performance-record among all competing Team Leaders. 
               Finally, Ruiz alleged that the Hotel conducted a systematic
          purge of older workers, but admits he has no such personal
          knowledge or evidence. It is axiomatic that more is required than
          mere conclusory allegations and unsupported conjecture.       See
          LeBlanc, 6 F.3d at 841; Goldman, 985 F.2d at 1116.
                                         11

          that all female workers at the Hotel were 
                                                  overworked. In addition,
          the Moreales affidavit states, inter alia, see also supra note 9,
          that Rivera harbored an "obvious" bias toward younger workers. The
          only explication Moreales offered for this conclusion, however, was
          that Rivera had pressured older workers, unfairly reprimanded older
          workers in front of younger ones, and treated two older supervi-
          sors, including Ms. Pena, in a "disrespectful manner," but without
          providing an evidentiary foundation upon which it might reasonably
          be inferred that any pressure, reprimand, or disrespect was either
          discriminatory or age-based.  See LeBlanc, 6 F.3d at 841.
                    Although we have allowed as how circumstantial evidence
          of a general discriminatory environment may add "color" to an
          employer's decisionmaking process, see  Conway v. Electro 
                                                                     Switch
          Corp., 825 F.2d 593, 597 (1st Cir. 1987), we have explained that
          "[p]roof of a general atmosphere of discrimination is not the
          equivalent of proof of discrimination against an individual,"
          Sweeney v. 
                    Board of Trustees of Keene State College
                                                            , 604 F.2d 106,
          113 (1st Cir. 1979). In all events, these proffers failed to
          establish a trialworthy claim that a "general" atmosphere of age-
          based discrimination existed in the Housekeeping Department, let
          alone that Ruiz was "riffed" for any reason other than the relative
          weakness of his work record.  Instead, without confronting the
                              
                Ruiz presented no competent evidence that the Hotel "riffed"
          him, or any other employee, 
                                     based 
                                           on 
                                              age. There is no evidence of
          any comment by anyone associated with the Hotel, including Rivera
          and Greber, about Ruiz's age or that age played     any  part in
          determining which employees would be let go. Moreover, the 1993
          annual rating received from Rivera was the second highest Ruiz ever
                                         12

          evidence, Ruiz concludes that he   must have been discriminated
          against because his record had been improving before Rivera became
          his supervisor and because his eight-year employment record cannot
          fairly be compared to the records of Team Leaders with less tenure.
          Ruiz's logic escapes us on both scores. First, as already noted,
          Ruiz received his next best performance rating ever from none other
          than Rivera. Second, if Team Leaders with less tenure 
                                                                  
                                                                  i.e. less
          experience    received better performance ratings than the more
          experienced Ruiz, it is difficult to discern how their superior
          performance reflects less well on them.
                    Furthermore, as we have stated repeatedly, we do not
          assume the role of a "super personnel department[], assessing the
          merits 
                   or even the rationality 
                                             of employers' nondiscriminato-
          ry business decisions."   Mesnick, 950 F.2d at 825;     see  also
          LeBlanc, 6 F.3d at 846 (similar). So it must be here.   See Smith
          v. Stratus 
                     Computer, 
                               Inc., 40 F.3d 11, 16 (1st Cir. 1994),  cert.
          denied, --- U.S. ---, 115 S. Ct. 1958, 131 L.Ed.2d 850 (1995)
          (stating that relief will not be granted "to a plaintiff who has
          been discharged unfairly, even by the most irrational of managers,
                              
          received. Nor did Ruiz address the undisputed evidence that all
          but two employees "riffed" by the Hotel were under forty, 
                                                                  see 
                                                                      supra
          note 6, which tends to suggest that the alleged systematic purge of
          employees was age-blind. Cf. 
                                       Hebert v. 
                                                Mohawk Rubber Co.
                                                                 , 872 F.2d
          1104, 1114 (1st Cir. 1989) (noting "rather startling" statistical
          evidence that 76% of all older employees were "riffed"). Finally,
          and most importantly, Ruiz proffered no evidence that he, among all
          employees holding a targeted Team Leader position, had not received
          the most disciplinary warnings, negative written comments,
          complaints from the night manager, and the lowest average annual
          performance rating    an average compiled from ratings given by
          various supervisors in addition to Rivera. 
                                         13

          unless the facts and circumstances indicate that discriminatory
          animus was the reason for the decision"). 
                    For the foregoing reasons, we hold that Ruiz failed to
          proffer competent evidence adequate to ward off summary judgment on
          the ADEA claim for wrongful discharge.
          B.   The Motion to Amend 
                    Ruiz next contends that the district court erred in
          denying the motion to amend the complaint, 
                                                    see Fed. R. Civ. P. 15,
          to include ADEA claims based on the Hotel's allegedly discriminato-
          ry and retaliatory failure to rehire him.  See supra p. 6. 
                    1.   Standard of Review
                    As Ruiz did not propose the amended complaint until seven
          months after the Hotel had moved for summary judgment, we treat the
          motion to amend as "an attempt to alter the shape of the case in
          order to defeat summary judgment."    Glassman v.  Computervision
          Corp., 90 F.3d 617, 623, (1st Cir. 1996). Consequently, Ruiz must
          "demonstrate . . . that the proposed amendments were supported by
          substantial and convincing evidence,"  Resolution 
                                                            Trust 
                                                                  Corp. v.
          Gold, 30 F.3d 251, 253 (1st Cir. 1994) (citations and internal
          quotation marks omitted). Under the abuse of discretion standard,
          any sound reason apparent from the record is sufficient to support
          the district court ruling, see id., including but not limited to
          undue delay, bad faith, dilatory motive, and the futility of the
                              
                We review the ruling on the motion to amend for "abuse of
          discretion." Resolution Trust Corp.
                                              v. 
                                                Gold, 30 F.3d 251, 253 (1st
          Cir. 1994).
                                         14

          amendment, 
                    see 
                        Grant v. 
                                 News Group Boston, Inc.
                                                        , 55 F.3d 1, 5 (1st
          Cir. 1995).
                    2.   The District Court Ruling 
                    Ruiz contends that the district court confused the
          requirements an ADEA plaintiff must meet to establish a 
                                                                prima 
                                                                      facie
          discriminatory discharge claim, with the separate standards for
          establishing prima facie claims of retaliation and discriminatory
          failure to rehire. He points to the district court's statement
          that the retaliation and failure-to-rehire claims, "even if
          supported, will not sustain an ADEA claim. That is, plaintiffs
          would [sic] have established a 
                                        prima 
                                              facie case of age discrimina-
          tion[,]" and argues that the district court erroneously ruled that
          Ruiz could not prevail on the proposed 
                                                retaliation and 
                                                                failure-to-
          rehire claims because he could not meet the  prima facie showing
          required for a 
                        discriminatory 
                                       discharge claim. We need not address
          this contention, however, as the record discloses an adequate
          alternative ground for affirmance. See 
                                                 Resolution Trust Corp.
                                                                       , 30
          F.3d at 253.
                    Given the tardiness of the motion to amend, the question
          before us is whether Ruiz supported the proposed amended complaint
          with enough "substantial and convincing evidence," 
                                                            id., of an age-
          based discriminatory animus.   See Woods v.  Friction 
                                                                 Materials,
          Inc., 30 F.3d 255, 260 (1st Cir. 1994) (stating that plaintiff must
          show discriminatory animus in failure-to-hire case);  Fennell v.
          First Step Designs, Ltd.
                                 , 83 F.3d 526, 535 (1st Cir. 1996) (stating
          that employee must demonstrate retaliatory animus); see also  id.
                                         15

          (stating that court may dispense with burden-shifting framework,
          and focus instead on whether the "evidence as a whole was suffi-
          cient to generate a jury question on pretext and discriminatory
          animus"). First of all, it must be noted that the mere fact Ruiz
          was not rehired does not itself afford a basis for inferring age
          discrimination.  See Udo, 54 F.3d at 14 (stating that failure to
          rehire may simply show employer did not want to rehire employee).
          Second, though the timing of the decision to hire Vargas 
                                                                     coming
          as it did five months after Ruiz filed administrative charges    
          tends to favor Ruiz, it does    not amount to "substantial and
          convincing evidence" of an age-based animus. See 
                                                           Resolution Trust
          Corp., 30 F.3d at 253. 
                    In addition, the essential thrust of the proposed amended
          complaint is that    coupled with Rivera's alleged discriminatory
          animus toward older employees     the decision to hire Vargas,
          rather than recall Ruiz, was patently irrational and, therefore,
          must have been a pretext for discrimination. However, the underly-
          ing thesis    that Vargas's qualifications were so inferior that
          the Hotel 
                   could 
                         only have been engaging in age-based discrimination
          and/or retaliation against Ruiz when it chose not to notify or
          rehire him    is seriously flawed.
                    First, Ruiz did not proffer sufficient evidence to enable
          a finding of discriminatory animus, either in the Housekeeping
          Department at large or toward him in particular. 
                                                          See 
                                                              supra pp. 11-
          14. Second, the fact that Ruiz, based on experience and past
          performance, may have been   qualified to hold the Team Leader
                                         16

          position which was given to Vargas, is 
                                                not evidence that the Hotel
          was motivated by an age-based animus in withholding it from Ruiz.
          See Woods, 30 F.3d at 262.
                    In conclusion, whether or not it was short-sighted to
          bypass Ruiz in favor of Vargas, who had never received a disciplin-
          ary warning, it cannot be said that it was so absurd as to defy
          rational belief. See 
                               Lehman v. 
                                         Prudential Ins. Co. of America
                                                                       , 74
          F.3d 323, 329 (1st Cir. 1996) (refusing to "second-guess" hiring
          decision "absent clearer evidence of irrationality"). According-
          ly, we are not confronted with such disparities in their respective
          employment records as would "virtually jump off the page and slap
          us in the face," Odom v. Frank, 3 F.3d 839, 847 (5th Cir. 1993)
          (quoted in 
                    Lehman, 74 F.3d at 329), let alone combine with evidence
          of discriminatory animus to defeat summary judgment, 
                                                              see 
                                                                  Smith, 40
          F.3d at 16 (requiring minimally sufficient evidence of discrimina-
          tory animus). Consequently, we are not at liberty to "substitute
          . . . [our] views for those of the individuals charged with the
          evaluation duty by virtue of their own years of experience and
          expertise in the field in question."  Id. (quoted in  Lehman, 74
          F.3d at 329).
                              
                Moreover, Vargas also received several commendations for work
          performance in the Housekeeping Department, the Hotel laundry, and
          as a driver and chauffeur, as well as performance ratings 
                                                                   at 
                                                                      least
          comparable to those received by Ruiz. Vargas earned the following
          annual performance ratings: 1987, 4.4; 1988, 3.74; 1989, 3.1;
          1990, 4.0; 1991, 4.48; 1992, 4.3; 1993, 3.45; 1994, 3.59.     See
          also supra note 4. In addition, Vargas had worked the day shift,
          which was regarded by Hotel management as more demanding than the
          night shift worked by Ruiz. 
                                         17

                    Therefore, as Ruiz proffered insufficient evidence from
          which an age-based discriminatory animus might reasonably be
          inferred in connection with the Hotel's decision to promote Vargas,
          rather than rehire Ruiz, see Smith, 40 F.3d at 16, he has not met
          the heavy burden of establishing that the proposed amended
          complaint was supported by "substantial and convincing evidence."
          Resolution Trust Corp., 30 F.3d at 253.
                                         18

                                         III
                                     CONCLUSION
                    Finally, since the district court supportably dismissed
          the federal claims, it permissibly declined to retain,    see 28
          U.S.C. S 1367, supplemental jurisdiction of the pendent claim under
          Commonwealth "Law 100."   See United 
                                               Mine 
                                                     Workers 
                                                             of 
                                                                America v.
          Gibbs, 383 U.S. 715, 726 (1966). Accordingly, the district court
          judgment is affirmed. 
                    SO ORDERED.
                                         19


